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                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF LOUISIANA


   In re:                                                      Case No. 12-12100
            DERICK J RANKIN

                       Debtor(s)


            CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

          S.J. Beaulieu, Jr., chapter 13 trustee, submits the following Final Report and Account of
   the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
   follows:

            1) The case was filed on 07/16/2012.

            2) The plan was confirmed on 10/09/2012.

            3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
   NA .

        4) The trustee filed action to remedy default by the debtor in performance under the plan
   on NA .

            5) The case was completed on 08/03/2017.

            6) Number of months from filing to last payment: 61.

            7) Number of months case was pending: 73.

            8) Total value of assets abandoned by court order: NA .

            9) Total value of assets exempted: $73,500.00.

            10) Amount of unsecured claims discharged without payment: $0.00.

            11) All checks distributed by the trustee relating to this case have cleared the bank .




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   Receipts:

          Total paid by or on behalf of the debtor              $45,833.58
          Less amount refunded to debtor                         $5,287.34

   NET RECEIPTS:                                                                                   $40,546.24


   Expenses of Administration:

       Attorney’s Fees Paid Through the Plan                                $3,600.00
       Court Costs                                                              $0.00
       Trustee Expenses & Compensation                                      $2,490.54
       Other                                                                    $0.00
   TOTAL EXPENSES OF ADMINISTRATION:                                                                 $6,090.54

   Attorney fees paid and disclosed by debtor:                 $100.00


   Scheduled Creditors:
   Creditor                                      Claim         Claim            Claim        Principal      Int.
   Name                                Class   Scheduled      Asserted         Allowed         Paid         Paid
   AAFES                           Secured              NA           0.00           399.00        399.00        0.00
   AAFES                           Unsecured            NA           0.00         4,436.20      2,477.44        0.00
   ALPAT COMPANY INC               Unsecured          84.00           NA               NA            0.00       0.00
   AMERICAN INFOSOURCE LP          Unsecured      2,037.00           0.00         2,095.32      1,170.15        0.00
   AMERICAN INFOSOURCE LP          Unsecured      2,260.00           0.00         2,267.29      1,266.19        0.00
   BANK OF AMERICA                 Secured       27,205.58           0.00       27,205.58      16,841.94        0.00
   BANK OF AMERICA                 Secured      249,000.00           0.00      241,698.42            0.00       0.00
   INTERNAL REVENUE SERVICE        Priority       2,313.11            NA               NA            0.00       0.00
   INTERNAL REVENUE SERVICE        Unsecured            NA           0.00           961.17        536.77        0.00
   LA DEPT OF REVENUE              Unsecured            NA           0.00         4,139.50      2,311.75        0.00
   LA DEPT OF REVENUE              Priority          829.57          0.00           829.57        829.57        0.00
   NCO FIN/99                      Unsecured          84.00           NA               NA            0.00       0.00
   PRA RECEIVABLES MANAGEMENT L    Unsecured         664.00          0.00           664.97        371.36        0.00
   PRA RECEIVABLES MANAGEMENT L    Unsecured      1,316.00           0.00         1,316.48        735.20        0.00
   PRA RECEIVABLES MANAGEMENT L    Unsecured      3,681.00           0.00         3,681.20      2,055.80        0.00
   PRA RECEIVABLES MANAGEMENT L    Unsecured      2,302.00           0.00         2,302.00      1,285.57        0.00
   SEARS CREDIT CARDS              Unsecured      2,309.00            NA               NA            0.00       0.00
   SOUTHERN CREDIT RECOVERY INC    Unsecured         238.00           NA               NA            0.00       0.00
   USAA FEDERAL SAVINGS BANK       Unsecured            NA           0.00           561.48        313.56        0.00
   WELLS FARGO FINANCIAL NATIONA   Unsecured      5,568.00           0.00         5,568.85      3,109.98        0.00
   WELLS FARGO FINANCIAL NATIONA   Secured           751.00          0.00           751.42        751.42        0.00




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    Summary of Disbursements to Creditors:
                                                                 Claim           Principal           Interest
                                                               Allowed               Paid               Paid
    Secured Payments:
          Mortgage Ongoing                                 $241,698.42              $0.00              $0.00
          Mortgage Arrearage                                $27,205.58         $16,841.94              $0.00
          Debt Secured by Vehicle                                $0.00              $0.00              $0.00
          All Other Secured                                  $1,150.42          $1,150.42              $0.00
    TOTAL SECURED:                                         $270,054.42         $17,992.36              $0.00

    Priority Unsecured Payments:
           Domestic Support Arrearage                            $0.00              $0.00              $0.00
           Domestic Support Ongoing                              $0.00              $0.00              $0.00
           All Other Priority                                  $829.57            $829.57              $0.00
    TOTAL PRIORITY:                                            $829.57            $829.57              $0.00

    GENERAL UNSECURED PAYMENTS:                             $27,994.46         $15,633.77              $0.00


   Disbursements:

            Expenses of Administration                             $6,090.54
            Disbursements to Creditors                            $34,455.70

   TOTAL DISBURSEMENTS :                                                                      $40,546.24


           12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
   the estate has been fully administered, the foregoing summary is true and complete, and all
   administrative matters for which the trustee is responsible have been completed . The trustee
   requests a final decree be entered that discharges the trustee and grants such other relief as may
   be just and proper.

   Dated: 08/17/2018                             By:/s/ S.J. Beaulieu, Jr.
                                                                             Trustee

   STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
   Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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